            Case 3:23-cv-01767-AN        Document 21       Filed 03/27/24     Page 1 of 1



Carey Caldwell, OSB #093032
Deputy City Attorney
carey.caldwell@portlandoregon.gov
William W. Manlove, OSB #891607
Senior Deputy City Attorney
william.manlove@portlandoregon.gov
Portland City Attorney’s Office
1221 SW 4th Ave., Rm. 430
Portland, OR 97204
Telephone: (503) 823-4047
Facsimile: (503) 823-3089
Of Attorneys for Defendants

                            UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                     PORTLAND DIVISION


ESTATE OF AARON D. STANTON,                         3:23-cv-01767-AN
BY DOUGLAS STANTON, PERSONAL
REPRESENTATIVE, AND A. S., A
MINOR, BY AND THROUGH HER                           NOTICE OF ASSOCIATION
GUARDIAN AD LITEM, DOUGLAS                          OF COUNSEL
STANTON,

                PLAINTIFFS,

       v.

JOSHUA DYK and CITY OF PORTLAND,

                DEFENDANTS.

        NOTICE IS HEREBY GIVEN that William W. Manlove, OSB #891607, Senior Deputy

City Attorney, is hereby associated as an attorney of record for Defendants City of Portland and

Joshua Dyk in the above-entitled case.

       DATED: March 27, 2024.

                                                  Respectfully submitted,

                                                  /s/ William W. Manlove
                                                  William W. Manlove, OSB #891607
                                                  Senior Deputy City Attorney
                                                  william.manlove@portlandoregon.gov
                                                  Carey Caldwell, OSB #093032
                                                  Deputy City Attorney
                                                  carey.caldwell@portlandoregon.gov
                                                  Of Attorneys for Defendants
Page 1 – NOTICE OF ASSOCIATION OF COUNSEL
